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                 IN THE UNITED STATES DISTRICT COURT
                     FOR THE DISTRICT OF NEBRASKA


UNITED STATES OF AMERICA,
                    Plaintiff,                               4:14CR3114
      vs.
                                                                ORDER
SONIA HERNANDEZ,
                  Defendant.
      Defendant has moved to continue the trial currently set for August 22, 2016. The
motion to continue is unopposed. Based on the showing set forth in the motion, the court
finds the motion should be granted. Accordingly,

IT IS ORDERED:
       1)  Defendant’s motion to continue [148] is granted.

      2)     The jury trial of this case is set to commence before the Honorable John
             M. Gerrard, United States District Judge, in Courtroom #1,
             United States Courthouse, Lincoln, Nebraska, at 9:00 a.m. on
             October 17, 2016, or as soon thereafter as the case may be called, for five
             trial days.

      3)     Based upon the showing set forth in the defendant’s motion and the
             representations of counsel, the Court further finds that the ends of justice
             will be served by continuing the trial; and that the purposes served by
             continuing the trial date in this case outweigh the interest of the defendant
             and the public in a speedy trial. Accordingly, the additional time arising as
             a result of the granting of the motion, the time between today’s date and
             October 17, 2016, shall be deemed excludable time in any computation of
             time under the requirements of the Speedy Trial Act, because despite
             counsel’s due diligence, additional time is needed to adequately prepare
             this case for trial and failing to grant additional time might result in a
             miscarriage of justice. 18 U.S.C. § 3161(h)(1), (h)(6) & (h)(7).


Dated this 12th day of August, 2016.
                                               BY THE COURT:
                                               s/ Cheryl R. Zwart
                                               United States Magistrate Judge
